                  Case 3:23-cv-05813-TMC Document 20 Filed 10/02/23 Page 1 of 36




                      IN THE WESTREN DISTRICT COURT OF THE STATE OF WASHINGTON
 2
                                            IN AND FOR TACOMA DIVISION
 3                                                                                    ___ FILED ____ LODGED
                                                                                            - - - - - RE!,EIVEO
 4

 5                                                                                                  OCT 02 2~23
     Sterling Jay: Shaw pro per suijuris                     Case No.: 3:23-CV-5813
                                                                                                     CLERK U.S. DISTRICT I OURT
 6                                                                                         WESTERN DISTRICT OF WASH IN ~TON AT TACOMA
                                                                                      BY                                         DEPUTY
      Plaintiff
 7
                                                             REF Case #23CV0622
     vs.
 8                     1
     -r/2.a...A $LA-." , Ok c.~~• /. 0tAY'<c.._'-'l.,5
 9
     EQUIFAX Credit bureaus, ~ 'f'4:->' 1 4,H,, vu,.l,   f
                                                             CONSTITUTIONAL COMMON LAW APPEARANCE
                      Defendant Defendant

11
                                     INTRODUCTION
12
     THE UNITED STATES DISTRICT COURT OF WASHINGTON STATE TACOMA DIVISIO N
13

14
     AND SEFARTH SHAW LLP, 999 Third AVE. #4700 Seattle. WA 98104 are Summonsin~

15   a CORPRATE/CAPITE MINUTUS PERSON - STERLING JAY SHAW© into its foreign

16   court room.

17   The Assumed name STERLING JAY SHAW© IS: Trademarked/Copyrighted in the
18   Public pursuant to de La Haye du Treaty of 5 octobre 1961, ID #F22310969 and
19
     registered with the "Seal" of the FEDERAL UNITED STATES DEPARTMENT OF STATE
20
     ID #190373981 as Secured Party/Bailor. For the record UCC-1 Financing Statement
21
     Master ID #20212022640 Agricultural Lien amount one hundred million US dollars on
22
     CORPRATE/CAPITE MINUTUS PERSON.
23
     Now here comes by special appearance pro per sui juris, the lawful undersigned Sterling
24
     Jay: Shaw "living man, on the land of American ... This Equity/constitutional common
25
     law action is pursuant to the Congressional Fair Debt Collection Practices Act, 15
26

27   U.S.C. § 1692, (FCRA) 15 U.S.C. §1681 et seq. In the form of Constitutional Habus Corpus,

28   for imprisonment of a lawful living man and violation of Congressional findings and
     CONSTITUTIONAL COMMON LAW APPEARANCE - 1
                                  Case 3:23-cv-05813-TMC Document 20 Filed 10/02/23 Page 2 of 36




           assignment letter(s}, the lawful living man Sterling Jay: Shaw went into contract on July 8,
 2
            1980 and May 24th , 2019, with the FEDERAL UNITED STATES GOVERNMENT D-U-N-S
 3
          #011878285, issued by the seal of the Department of State "ID #190373981 ", Issued pursuant to
 4
           CHXIV State of Sept 15, 17&9, l Stat 6S-69; 22 USC 2657, 22 USC 2651a, 5 USC 301, 2& USC
 5

 6         1733 et, seq, 8 USC 143-43(f), 25 CFR 11.406, RULE 44 Federal Rules of Civil Procedures,

 7        Rule 5.1 Constitutional Challenge, and Constitutional Public/Common law, to

           release/Full/Faith/and Credits* in the form of the secured party creditors/Bailors signature or
 9
          Autograph on Promissozy Note(s) or Retail Contract(s) or any contract for/of Collateral.
10
          This is a constitutional provision self-executing contract, between a recorded living man Sterling
11

12        Jay: Shaw and a Federal Government agency and or Federal Court System.

l3        'De .l awfd :sez:und party/Bailor on record Sterling Jay: Shaw comes with dean hands in equity. for

          tbe·l'Ell'lf!dJ as lbehenefidary.
15
          "As these ptes..mpliJnS of fair debt recording are based on a bankrupt f"&at money system since
16
          19.ll,.. and DOil" Lawful money, which is true cummcy issued by the United States Treasury, such
l7
          as gold and silver coins, Treasury notes, and Treasury bonds, pursuant to Constitutional truths
18
          inside every Confederation of States of America Constitutions".
l9
                                                         Jurisdiction and Venue
20
          This Court along with the Recorded Secured Party Creditor/Bailor has jurisdiction over this common law
2I

22        action pursuant to Article 3 Section 2 CI. 1, Article VI, Clause 2 the Supremacy Clause, 15 U.S.C. § 1692,

23        (FCRA) 15 U.S.C. §1681 et seq. 18 U.S.C. § 1962, 28 USC§ 1331, 28 USC 1343, in that claim which

24        arise under the constitutional laws of the United States, and this court has supplemental jurisdiction of

25   1    ~ c ~ (tWIII:5ll1lill004!: m 1!8 U.l.KC.. § §:· 24H- 24t1~ as; 1wey' anllll amre 5m> reli.m:d oo111rne ~ ~
     1
26
          that they form part of the same case or controversy. For the record, Pursuant to United States
27
          Congre.ssio.naJ Rec.ord M.arc.h 111 19931 Vol #33, page H-J303 thjs FederaJ Court js under Bankrupt
28
          CONSTITUTIONAL COMMON LAW APPEARANCE - 2
     ......... ., ., ...... .., ........................... ..,   .,   ......................... '· ...
     .. ,...,._ ....... .i.. .. :..11...i.. .. :i.i.:..:.i..,.:..,.:..:..:..:i.:..:.. ~ ;,. - :..
                                                                                                   -      .,   '   ..   ' .., ..... .., . . .., . . .., ..... .................
                                                                                                                                                          ~

                                                                                                          ._,.,. . . . . . "'"',._ . . . . . ,._,._.,,._Ir,. ........... :...
                                                                                                                                                                                  .,   ..   .,   .......   ~   .,   ' ..,   "'   ...   .,   .,   .....................   .,   . .., ........... .., .......... .
                                                                                                                                                                                                 :..:..:..lo.i.:.. ... :.. • • :.. .. ;;.:..•>-"-&"- .. :.. .. :..:.::..:..a.:,.:..:.. .... 1,.1,,,.
                                                                                                                                                                                                                                                                                                            .._    .,   ...   .,   .,




                                                                                                                                                                                                                                                                                                                                   ..
                                                                                                                                                                                                                                                                                                                                        ............... . .
                                                                                                                                                                                                                                                                                                                                        :..:,.:..:;.:..J.




     11
                  Case 3:23-cv-05813-TMC Document 20 Filed 10/02/23 Page 3 of 36




          Maritime/Admiralty Laws of the sea, as the lawful man Sterling - Jay: Shaw with God given rights of

 2        freedom of speech is under Constitutional Common Law of the Land & Soil of America.
 3        Venue is proper in this Court purswmtto; Public Law 91-508, 12 USC§§ 72- 73~ 12 USC§ 4ll ~
 4
          Equity/constitutional common law(s), The Act (Title VI of Consumer Credit Protection Act), The Fair
 5
          Credit Reporting Act, 15 USC§.§ 1601- 1692p- 18 U.S.C. § 1%2-25 CFR 1 l.406- 42 use§ 1983~
 6
          at least one defendant and the Plaintiff resides in the State of Washington.
 7
                                    The Partie~
 8
          Sterling Jay: Shaw is a private American who is pro per suijuris, in the State of Washington in all Countie
 9

lO        of Washington State, C/o P.O. Box 213 WOODINVILLE, WA [98072]

ll        The Defendant EQUIFAX, P.O. Box 740241~ Alanta GA.,30374~ SEYFARTH SHAW LLP OF 999 Thir

12        AVE, SEATTLE, WASHINGTON, and co-conspirers.

13        The RICO Enterprise:
l4
          At all relevant times, the RICO Defendant(s), EQUIFAX Credit bureaus, and co-conspirers, constituted a,
15
          association in-fact enterprise (the "enterprise") within the meaning of 18 U.S.C. 1961(4), The members o
16
          the enterprise are a group of persons associated together for the common purpose of carrying on an ongoin
17
          enterprise; specifically, the enterprise had a common, unlawful goal of dismantling the plaintiff's equi
18
          abilities for doing business inside commercial Commerce, within a "true credit report" of a Secure
19
          Party/Bailor on the record.
20

2l        Impeding his ability to effectively govern his equity abilities, through fraudulent, deceptive, and crimina

22        means, including, but not limited to, falsely creating a poor credit score or unlawful documents an

23        Contracts. The enterprise using predicted acts Section 1961 (1) of RICO ,also provides that "racketeerin

24        activity" includes any act indictable under 18 U.S.C 241 - 242, (relating to the denial of rights 01
25
          (obstruction of justice). As set forth herein, in furtherance of the scheme to defraud the secured party/bailo
26
          Plaintiff, the RICO Defendants engaged in numerous acts in violation of 18 U.S.C § 241 and 18 U.S.C
27
          242, including, without limitation, as set forth herein. Each RICO Defendant has conducted and participate ,
28
          CONSTITUTIONAL CO~fMON LAW APPEARAi'lCE - 3




     11
             Case 3:23-cv-05813-TMC Document 20 Filed 10/02/23 Page 4 of 36




     directly or indirectly, using the unlawful reporting tact's, which violated 1592 USC § 1692g (808) Unfa·

 2   Practices.
 3
     As tltere was no ttal validatioa of contracts or debts in equity~ pursuant to 15 USC § 1692 (809)
 4
     TRANSUNION Credit bureaus, and co-conspirers profited from Fair Debt Collection Practices Ac
 s
     (FDCPA) 15 U.S.C. § 1692 et seq. EQurFAX Credit bureaus, and co-conspirers violated 18 U.S.C 100
 6
     (a)(3), by filing many false documents, fictitious - Fraudulent statements - entries - unlawful Contracts o
 7
     Debt validation on the credit score of the CORPRATE/CAPITE MINUTUS PERSON - STERLIN
 8
     JAY SHAW©...
 9

             Facts statement:

             1) It is an established fact that the "Federal United States government is a legal corporation,
l2
             which was established February 21, 1%71, under the name WASH™G1'ON DC AND OR
13
             "DISTRICT OF COLUMBIA" 16 Stat. 419 Chapter 62. It was reorganized June 11, 1878; a
[4
             bankrupt organization per House Joint Resolution 192 on June 5, 1933, Senate Report 93-549,
[5
             and Executive Orders 6072, 61m, and 6246; de facto (deftne de facto) government, D-U-N-S
16

17           #011878285 and The State of Washington/WASHINGTON STATE is a Bankrupt franchise of

l8          the FEDERAL UNlTED STATES GOVERNMENT D-U-N-S #011878285, Pursuant to the

             United States Congressional Record March 17, 1993, Vol. #33, page H-1303.
20
            2) It is an established fact that all Debts are prepaid see Gold C1ause 31 USC § S118 (2), Public
21
             Law 73-10, Public Law Chap. 48_,_ 48 Stat. 112., 12 USC § 411, my Liabilities are "Discharged"
22
             pursuant to, Qui Timetjurisdiction of Equity Law(s), "Uniform Commercial Code" in
23
            accordance witb.UCC § 3-601 - Without prejudice UCC §, 1-30& - Without Dishonor UCC § .3
24
            .5;;): -W~ut Recourse UCC § 3-4 l 5 - No Consideration UCC § 3-303b, and pursuant to
25

16          Puhfic· Law Chap. 4-8, 48 Stat. l 12~ Public Law 95-109, Public Law 11-203. It is an established

27          fact that first to record assets and collateral is first to own assets and collateral UCC § 9-511,

28          Public Law 116-136, Without prejudice UCC § I-308, \Vithout Dishonor Cf. DCC§ 3-501,
     CONSTITUTIONAL COMiWON LAW APPEARANCE - 4
                Case 3:23-cv-05813-TMC Document 20 Filed 10/02/23 Page 5 of 36




 I             tli_eze,;:-:,:ug be a "remedy,'. It is an ~"1ablisbed fact that "chartered Banks" don't Joan lawful

 2              money, but they loan credits by USARY contracts of the borrower(s) equity credits, and Banks
 3
                are bankrupt fosjde the UNITED STA TES JNC since Emergency Banking A'-'11 M.arc.b 9. 1933.
 4
                48 Stat. 1, Public Law 89-719; declared by President Roosevelt, being bankrupt and
 s
                insolvent. H.J.R. 192, 73rd Congress m session June 5, 1933 - Joint Resolution to Suspend the
 6
                Gold Standard and Abrogate the Gold Clause dissolved the Sovereign Authority of the United
 7
                States and the official capacities of all United States Governmental Offices, Officers, and
 g
                Departments and is further evidence that the United States Federal Government exists today in
 9

10              name only.

11             The lawful man Sterling Jay: Shaw has no contract with EQUIFAX Credit bureaus, the lawful

12              man wants to know what Laws, process and procedures that gives, EQUIFAX Credit bureaus,

13
                the right to drcumvent the, Quj Timetjurisdktfon ofE.qujty Law(s), "Unifonn Comme.rciaJ
[4
               Code" (UCC) and in direct violation(s) of the Congressional findings of declaration of purpose,
lS
                for the Credit bureau(s).                                                                 Liability-
16

17
               Damages are real pUl"Suant to; Equity law{s) - 28 USC § 1343 - 25 CFR 11.406 -1592 USC§

l8             l~KK~UJ.

19              Agents and Principals for EQUIFAX Credit bureaus, by not disclosing to the recorded living man

20              Sterling Jay: Shaw, that the unlawful Credit score was placed against the CORPRATEJCAPITE
21             MINTUTUS PERSON STERLING JAY SHAW©, which violated the lawful man's equity
22
                interest and Transmitting Utility labor number(s) without a "remedy", to Sterling- Jay: Shaw a
23
               recorded Living Man.
24
               The lawful man disputed assumed loan(s) pursuant to the Equity Law(s), "Uniform Commercial
25
                Code" UCC within the 90-day dispute window. Under UCC, "non-disclosure" of essential
26
                information, invalidates all contracts. "Fraud Vitiates
27
               everything"!
28
          CONSTITUTIONAL COMMON LAW APPEARANC E - 5




     11
           Case 3:23-cv-05813-TMC Document 20 Filed 10/02/23 Page 6 of 36




           The presumption of "He who is silent appears to consent", however, if an entity is not informed . ..

 2         or full disclosure was not provided in writing, the result of the non-disclosure is fraud by deceit,
 3
           EQUIFAX Credit bureaus, infringed the assumed names that are, Trademarked and Copyrighted;
 4
           of one FEDERAL NAME STERLING JAY SHAW ©, which is harming the FEDERAL
 5
           PERSON from doing equity/ commercial commerce inside the federal United states
 6
           Governmental system, which violates the copyright/trademark of the FEDERAL PERSON.
 7
           Statement of Facts:
 s
           1) It is an established fact that the "Federal United States government is a legal corporation,
 9

10         which was established February 21, 1871, under the name "DISTRICT OF COLUMBIA" 16 Stat

ll         419 Chapter 62. It was reorganized June 11, 1878; a bankrupt organization per House Joint

12         Resolution 192 on June 5, 1933, Senate Report 93-549, and Executive Orders 6072, 6102, and

13         6246; de facto (define de facto) government, and The State of Washington/WASHINGTON
14
           STATE is a Bankrupt franchise oftheFEDERAL UNITED STATES GOVERNMENTD-U-N-
15
           S #011878285, Pursuant to the United States Congressional Record March 17, 1993, Vol.
16
          #33, page H-1303.
17
          2) It is an established fact that all Debts are prepaid see Gold Clause 31 USC § 5118 (2), Public
18

19         Law Chap. 48, 48 Stat. 112., my Liabilities are "Discharged" pursuant to "Uniform

20        Commercial Code"' in accordance with UCC § 3-601 , Without prejudice UCC § 1-308, Withou

21        ~lIDrrCC § 3-501, Without Recourse UCC § 3-415, No Consideration UCC § 3-303b

22        all'id. ~~f to Public La,Y Chap. 48, 48 Stat. I 12, Public Law 95-109, Public Law l l-203. It is
23
          an established fact that first to record assets and collateral is first to own assets and collateral
24
                s
          UCC 9-51 l, Public Law 116-136, Without prejudice UCC § l-308, \"\>'ithont Dishonor Cf
25
          t;~CC § 3--:'H'J-'~, there must be a remedy. It is an established met that "'chartered Banks" don~t loan .
26
          lawful money, but they loan credits by USARY contracts of the borrower·and Banks are bankrupt
27
          inside the UNITED STATES 1NC since Emergency Banking. Act, March 9, 1933, 48 Stat. 1,
28
     CONSTITUTIONAL COMMON LAW APPEARANCE - 6
               Case 3:23-cv-05813-TMC Document 20 Filed 10/02/23 Page 7 of 36




              Public Law 89-719; declared by President Roosevelt, being bankrupt and insolvent. H.J.R.

 2             192, 73rd Congress m session June 5, 1933 - Joint Resolution to Suspend the Gold Standard and
 3
              Abrogate the Gold Clause dissolved the Sovereign Authority of the United States and the official
 4
              capacities of all United States Governmental Offices, Officers, and Departments and is further
 5   I

               evidence that the United States Federal Government exists today in name only.
 6
              The lawful man Sterling Jay: Shaw has no contract with EQUIFAX Credit bureaus, the lawful
 7
              man wants to know what Laws, process and procedures that gives, EQUIFAX Credit bureaus,
 s
 9            the right to circumvent the "Uniform Commercial Code" (UCC) and in direct violation(s) of the

10            Congressional findings of declaration of purpose, for the Credit bureau

U.            Liabilify- Damages are real punuaot to 28 USC § 1343 - 25 CFR 11.406 - 1592 USC §
12
              E~~K ff.[:&\).
t3
              Agents and Principals for EQUIFAX Credit bureaus, by not disclosing to the living man Sterling
14
              Jay: Shaw, that the unlawful Credit score was placed against the CORPRATE/CAPlTE
15
               MINTUTUS PERSON STERLING JAY SHAW©, and the lawful man's transmitting Utility
16
              labor number(s) without a remedy, to Sterling - Jay: Shaw a Living Man the lawful man disputed
17

~s            loan pursuant to the "Uniform Commercial Code" UCC within the 90-day dispute window. Unde

19             UCC, "non-disclosure" of essentially information, invalidates all contracts. Fraud vitiates

20            everything! The presumption of "He who is silent appears to consent", however, if an entity is no

21            informed ... or full disclosure was not provided in writing, the result of the non-disclosure is fraud
22             by deceit, EQUIFAX Credit bureaus, infringed on the lawful mans, Trademark and Copyrights o
23
              one FEDERAL NAME STERLING JAY SHAW ©, which is harming the FEDERAL PERSON
24
              from doing commerce inside the federal United states Governmental system, which violates the
25
               copyright/trademark. The infringement fee of $500,000.00 United States dollars is due, as the
26
              lawful man has lost more business deals due to the negative marks on his credit.
27

1S
         CONSTITUTIONAL COMMON LAW APPEARANCE - 7
             Case 3:23-cv-05813-TMC Document 20 Filed 10/02/23 Page 8 of 36




            Remedies

  2         The infringement fee of $500,000.00 United States dollars is due, as the lawful man has real
  3
            injuries and has lost more business deals due to the negative marks on his credit.
  4
            That the Court acknowledge and grants an Arbitration Equity amount for the lawful man;
  5
            Sterling Jay: Shaw his rights to Copyright/Trademark Infringement payment of $500,000.00
  6
            dollars, from EQUIFAX Credit bureaus ... That the Court Clerk Rule against EQUIFAX Credit
  7

  s         bureaus, violation of Equity contract law through the Qui Timetjurisdiction of Equity law and

  9         ..Uniform Commercial Code". That the Credit Bureaus like EQUIFAX restore my credit to a

10          score of 750 - 800 for duress and damages and find remedies through lawful

lI          arbitration.
12          Conclusion
13
            We remind the Court Clerk that Sterling Jay: Shaw is a recorded Living Man and an American
14
            and not any kind of U.S. CITIZEN or Citizen of the UNITED STATES. The latter of the two are
15
            "Federal Service Corporation Citizens". Documents recorded into the land recording offices of
16
            SNOHOMISH COUNTY WASHINGTON and MARION COUNTY OREGON, and Department
l7
            of State "Seal", clearly declare(s) the status and jurisdiction of the lawful man Sterling Jay: Shaw
H~

19
            upon the land & soil of the "Republic" of Oregon State and America, EQUIFAX Credit bureau,

20          has infringed on my Copyright/Trademark, 28 U.S.C. § 1338, 28 USC § 1331, 28 USC § 1343

21          and my Equity Laborer, and Equity Transmitting Utilities numbers that are Secured by liens.

22          My Public recorded UCC-1 financial Statement, making the "living man" Sterling Jay: Shaw the
2]
            "Secured Party/Bailor" reference #20202023435 and Master fD #20212022640.
24
            TRANSUNION has violated the Fair Credit Reporting Act (FCRA) 15 U.S.C. §1681 et seq., as
25
            well it is an established fact that all Debts are prepaid see; Gold Clause Title 31 Section 5118(2)
26
            & Public Law Chap. 48, 48 Stat. 112 and the "remedy" bankruptcy of UNITED STATES 1933 .
27
            All debts are accepted for value and returned for value in accordance with Equity law, and
l'i.
       CONSTITUTIONAL COMMON LAW APPEARANCE - 8
            Case 3:23-cv-05813-TMC Document 20 Filed 10/02/23 Page 9 of 36




           Uniformed Commercial Code (UCC). "DISCHARGED", pursuant to UCC (Uniformed Commercial Code)

 2         §3-601, without prejudice, Cf. UCC §1-308, Without dishonor, Cf. UCC §3-501, Without Recourse, Cf UCC

 3
           §3-415, No consideration, Cf. UCC §3-303b and (RCW) (Revised Code of Washington) Cf UCC §1-308, 3-

 4
           501, 3-415, 3-601 and Public Law Chapter 48, 48 Stat. 112, for Copyright Infringement, this Equity
 5
           Liability Claim is Pursuant to 28 U.S.C. 3202, and 15 U.S.C. 1692K (813), for Payment...
 6
           The lawful man is looking for "Remedy/Relief/Equity Arbitration", in the amount of
 7
           $500,000.00 or Five Hundred Thousand Actual United States dollars for injuries/Duress.

 9         Since the lawful living man Sterling Jay: Shaw went into contract on July 8, 1980 and

          May 24th , 2019, with the FEDERAL UNITED STATES GOVERNMENT D-U-N-S
11
          #0118782&5, i<;;~ by the Del)filtmentof State "Seal'' "ID #1903739&1", Issued
12
          pursuant to CHXIV State of Sept 15, 1789, l Stat68-69; 22 USC 2657, 22 USC 265 la, 5
13
          USC 301, 28 USC 1733 et, seq, 8 USC 143-43(f), RULE 44 Federal Rules of Civil
14

15        Procedures, Crimmal Coercion law(s), and Constitutional Public/Common law, to

16        release/Full/Faith/and Credits* in the form of the secured party creditors/Bailors
17
          signature or Autograph on Equity Contract(s), Promissory Note(s) or Retail Contract(s)

          or any contract for Collateral.
19
          This is a seJf-executing contract of Equity and ConstitutwnaJ Guarantees.
20
          NOTICE TO PRINCIPAL IS NOTICE TO ALL AGENT(S), NOTICE TO AGENT IS NOTICE TO ALL
21

22        PRINCIPAL(S).

2]


24                 Dated this    __d_, day of Uf~/Jey , 2023.
25
                          ~~
                                                  1

                   BY:                 - ,,~      i/
26                       Ster~    ~   Shaw,
           Done in Good Faith - Without Prejudice - All Rights Reserved
27


     CONSTITUTIONAL COMMON LAW APPEARANCE - 9
                                            Case 3:23-cv-05813-TMC Document 20 Filed 10/02/23 Page 10 of 36
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                    \'\~        ~\~     ('\"IQ;
                ':\_'\.~ .£2!'
                                                                                  State of Washington
                                       !\\)

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          ~ t? ,kV
             . ~' . ~ \.)                                                                      Secretary of State
o~C,~ o~,-l_____T
                _ h1_
                    ·s_c_e
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                           _if_1c_a_t_e_is_no_t_\_;a_l_id_fo...r_u_s_e_a_n_y_11_h_e_rc_·_\1_~_
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                                                                                                n_:_e_
                                                                                                     s _~-; -~(-; -: -s_1_at_e_s_o_f_A_1_11_e_ri_c_
                                                                                                                                                  a._i_1s_·t_e_rr_i_to_r_ie_s_o_r..;p_o_s_s_e~_·s_io_n_s_. ____



                                                                             (Convention de La Haye du 5 octobre 1961)
                           1.         Country
                                                                 United States of America
                                      Pays/ Pais

                                                                                             This public document
                                                                        Le present acte public/ El presente documento publico
                        2.            has been signed by
                                      a ete signe par.                                          JOHN AUSTIN
                                      ha sido finnado por
                        3.            acting in the capacity of
                                      agissant en qualite de                                   Notary Public, state of Washington
                                      qui en actua en cal idad de
                        4.            bears seal/ stamp of
                                      est revetu du sceau / timbre de                          JOHN AUSTIN
                                      y esta revistido de\ sello I timbre de
                                                                                                          Certified
                                                                                                   Atteste I Certificado

                        5.            at                                                                                      the
                                                       Olympia, Washington                                                                       September 15, 2023
                                      a/ en                                                                                   le/eldia

                        7.            by
                                                                        Steve R. Hobbs, Secretary of State, State of Washington
                                      par/ por
                        8.            Number
                                      sous nombre / bajo el            S22380693
                                      numero

                         9.            Seal/ stamp
                                                                                                                             Signature:
                                       Sceau / timbre                                                                        Signature:
                                       Sello I timbre                                                                        Finna:

                                  This Apostille only certifies the aul11enticity of the signature and the capacity or the person who has signed the public d0cu111erll, and.
                                                           where appropriate, the identity of the seal or stamp which the public c.locumelll bears.
                                                            This Apostille does i1ot cerlily the content o/'the document for which it was issued.
                                             This Apostille is not valid for use anywhere within the United States of America, its territories or possessions.
                                                               To verify the issuance of this Apostille, sec: www.sos.wa.gov/corns/a.postilles

                    This certificate does not constitute an apostille under the Convention of 5 October 1961 Abolishing the Requirement of Legalization for Foreign Public
                     Documents for those countries that have neither ratilied nor acceded to that Convention. and remains subject to additional applicable authentication
                                                                                          requirements.
                                      Cette Apostille attcste uniquemenl la veracitc de la signature. la qualite en laquelle le signataire de l'acte a agi et, le cas echeant.
                                                                          l'identite du sceau ou timbre dont cet acte public est revetu.
                                                                Cette Apostille ne certitie pas le contenu de 1•acte pour lequel elle a ete e111ise.
                                               L'utilisation de cene Apostille n'est pas valablc en/au Etats-Unis d'Amerique, ses tcrritoires ou possessions.
                                                            Celle Apostille peut etre verifee a l'adresse suivante: www.sos wa.5mv/corps/anostilles
                                           Esta Apostilla certifica unicamente la autenticidad de la Jir111a. la calidad en que el signatario del documento haya actuado, y
                                                               en su caso. la identidad dd sello o timbre de/ que el documento publico este revestido.
                                                                   Esta Apostilla no certitica el con ten ido del docu111ento para el cual se expedi6.
                                                         No es valido el uso de esta Apostilla en Estados Unidos de A111erica. sus territorios o posesiones.
                                                           Esta Apostille se puede verilicar en la direcci6n siguiente: W\\W.sos.wa.gov/corns/allostilks
         Case 3:23-cv-05813-TMC Document 20 Filed 10/02/23 Page 11 of 36




Dear Sir/Madam:

NOTICE TO PRINCIPAL IS NOTICE TO AGENT
NOTICE TO AGENT IS NOTICE TO PRINCPAL
                              Applicable to all successors and assigns.
                          Silence is Acquiescence, Agreement, Dishonor
                                   This is a self-executing contract.
It has come to my attention that on July 15, 2021, that I did not have my Declaration of living
man/person status notarized to keep me in compliance with the Apostille Hague Treaty of
Octobre 5 th 1961, recorded Snohomish County Reference number 202107150684. Which the
lawful living man Sterling Jay: Shaw went into contract on May 24th , 2019, with the FEDERAL
UNITED STATES GOVERNMENT, issued by the Department of State "ID #190373981", Issued
pursuant to CHXIV State of Sept 15, 1789, 1 Stat68-69; 22 USC 2657, 22 USC 2651a, 5 USC 301,
28 USC 1733 et, seq, 8 USC 143-43(f), RULE 44 Federal Rules of Civil Procedures, and
Constitutional Public/Common law, to release/Full/Faith/and Credits* in the form of the
secured party creditors/Sailors signature or Autograph on Promissory Note or Retail Contracts
or any contract for Collateral.

PRAIRIE STAR NATIONAL TRUST HERE BY CERTIFY that the attached reproduction of documents
is a copy of the original documents on file with the Secretary of State Washington and
Department of State Washington DC and our National office.

Attachments: 1) Certificate of life; two witness/testimonies, 2) Certificate of Authentication
Secured Party Creditor, 3) Affidavit of Status as Secured Party Creditor, 4) Apostle-Birth
Certificate, 5) UCC-1 & Security Agreement 6} Declaration of Citizenship -American National
7} Evidence of Life/ Queens Bench 8) Common Law COPYRIGHT/TRADEMARK Notice
9) Assumed Name/Trademark copy Minnesota filing 10) Certified mailing Affidavit

Respectively by: Sterling Jay: House of Shaw

Autographed By: _A~
                           ✓       ,7
                                        ·. 0t-~/ ;~.4?-" Dated;
                                          u
                                                                  7 -/S - ~ c> 2 -5
            "Done in Good Faith-Without Prejudice-All Rights Reserved"



                                       ACKNOWLEDGEMENT By:

State of Washington "Republic", County of Thurston, Subscribed and sworn to (or affirmed)
before me on this     / ~         ·n  day of ><--~i crnb er    2023.
                                                       '
Evidence to be the lawful Living man who appeared before m                  JOHN AUSTIN
                                                                            Notary Public
WITNESS my hand and official seal.                                       State of Washington
                                                                        Commission It 198305

Signature by:   ~&:,(;;?                                            My Comm . Expires Mar 7, 202 6
             Case 3:23-cv-05813-TMC Document 20 Filed 10/02/23 Page 12 of 36



              AFFIDAVIT OF CITIZENSHIP/LIVING MAr\J EVIDENCE
   The Lawful Living     s-+~   (l4 &--LJ.'. )~                 , natural man, private common man,
   within Washington State a "Republit'', and Created in the image of the Living Creator, Genesis
   1: 26-30; the lawful man was created in the "Republic" Nation State of Oregonian, as a Living
   Man a Micro Nation of Oregonian, the lawful living Man Sterling Jay: House of Sha,v, with Natural
   Rights, coming before the World by special appearance (de bene esse), whose jurisdiction is inside
  the land, soil, and Air jurisdiction of America, the lawful living man being duly sworn, under
  Common Law. The la,vful man, declare under penalty of perjury under the Public Law of The United
  States of America and from without the United States and without the United States of America Territories.
  that I have never knowingly, willingly, and voluntarily pledged myself to any incorporated entity at all:
  including but not limited to any incorporated church, synagogue, mosque or temple, that the lawful man
 has never knowingly, willingly, or voluntarily pledged myself to any foreign sovereign or separated myself
 from my Created birthright political status; That the lawful man reject, renounce, and remove all and any
 allegiance to any Jesuit(s) General, principalities of evil king or prince, any foreign state, foreign
 government, B.ag, or thing. The Lawful man hereby declares my intention and desire to be a
 "national, with God given Constitutionally protected Rights" and not a "citizen of the United
 States corporation of (1781)", in a condition of voluntary servitude with civil rights, under the
 scope and preview of the 14th Amendment.
 As a national, the Lawful Living Man, is an 'Non-resident' to the residency and 'alien' to the
 condition of 'Voluntary servitude/slavery' of the 14th Amendment.

 National status is deceptively identified at 26 C.F.R. 1.1-1(a} as a 'non-resident alien'.

 [ declare my political status as an American, Created within the physical borders of: [Nation State of
 Oregonian a (Republic)]
This Declaration is val id, true, correct, and complete in all jurisdictions of law: air, land, and sea.
            Notice to Principals is Notice to Agents; Notice to Agents is Notice to Principals.
Respectfully By: Sterling Jay: House of Shaw - Lawful Living Man - Donor/Beneficiary (sui juris).

Signed by~ ~ .' ,&/4-..J'                                   Dated: c> b ~JC,       -z oz.Y
 "Done in good faith - Without Prejudice -All rights reserved".

ACKNO\VLEDGivfENT

County of Thurston                )

Washington State                  )

Today, before me, a Commissioned Public Notary, visited the living man Sterling Jay: House of
Shaw, who have in my presence affirmed this document on this             k_ day of.M{y 2023.
Signedby:     Ye /I ~        (:?. c?Lr                                                  .:(vve
Public Notary       ~~
                    , '
                                                         Sealed:             JENNIFER ESPADA
                                                                             NOTARY PUBLIC #150500
                                                                            STATE OF WASHINGTON
                                                                            MY COMMISSION EXPIRES
                                                                                    10-08-26
                       Case 3:23-cv-05813-TMC Document 20 Filed 10/02/23 Page 13 of 36



                                                      State of Vv'ashington
                                                                Secretary of State

                                                                       Apostille
                                                  (Convention de La Haye du 5 octobre I96 I)
     1.       Country
                                      United States of America
              Pays/ Pa[s

                                                               This public document
                                               Le present acte public/ El presente docurnento publico
    2.       has been signed by
             a ete signe par                                    JD MONTOYA
             ha sido ftrmado por
    3.       acth1g in the capacity of
             agi:ssailt en qua.lite de                          Notary Public, state of Washington
             q uien acti'.ia en cal idad de
    4.       bea·rs seal / stainp of
            est revetu du sceau / timbre de                     JD MONTOYA
            y esta.n'ivistido de! sello / timbre.de

                                                                         Certified
                                                                   Atteste i Certificado

   5.       at
                            Olympia, Washington
                                                                                          the
                                                                                                          June 14, 2023
            a/ en                                                                         le/eld[a

   7.       by
                                              Steve R. Hobbs, Secretary of State, State of Washington
            par/ por
   8.       Number
            sous nom bre / bajo el            F22310969
            numero

   9.        Seal/ stamp
                                                                                 10. Signature:
             Sceau / timbre                                                             Signature:
             Se[lo / timbre                                                              Firma:


          This Apostille only certifies tl1e authenticity of tile signature and the capacity of the person wt)o has signed the public docunient, and,
                                   where approgriate, the identity of the seal or stamp which the public document bears.
                                    This .Apostille does not cerdfy the content ot' the docun,e1fr for which it was issued.
                     This Apostille is not valid for use anywhere within the United States of America, its territories or possessions.
                                       To verify the issuance of this Apostille, see: www.sos.wa.11ov/coros/aoostilles

This certificate does not constitute an apostille under tlie Convention of_5 October I9_61 Abalishing the Requirement of Legalization for Foreign Public
  Documents for those countries that have ne_ither ratitied nor acceded to that Convention, and remains subject to additional applicable authentication
                                                                       requirements.
            Cette Apostille atteste uniquement la veracite de la signature, la qualite en laqudle le signataire de l'acte a agi et, le cas echeant,
                                                l'identite du sceau ou timbre dont cet acte public est revttu.
                                      Cette Apostille ne certifie pas le co.ntenu de 1·acte pour kquel elle a·et~ emise.
                     L'utilisation de cetie Apostille n'est pas valable en/ai1 Etats-U"i1is d'Ai11erique. ses territoin:s au possessions.
                                  Cette Apostille peut ew _verifee a l'adresse_suivante: www.sos.wa.irnv/coros/aoostilles
              Esta Apostilla certifica unicamente la autenticidad de la firm a, la cal idad en que el signatario del document□ haya actuado, y
                                  en su caso. la ident_idad del sello o timbre dd que el documento publico este re,escido
                                      Es.ta Apostilla no certifica el contenido del documento para el cual se expedio.
                            No es valido el uso de esrn Apostillaen Estados·Unidos de Am8ica, sus territorios o poses10 nes
                              Est~ Apostille se puede veriticar en la di;ecci6n siguiente : www.sos.wa!!ov/corns/aoostillcs
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  Sterling Jay: Shaw
  P.O. Box 213
  Woodinville, WA 98072

  Pursuant to, Common Laws of Copyrights/Trademarks and !5 USC [ I !4([).
  Was established on July 8, I 980.

  Re: Copyright/Trademark Violation

  To Whom [t May Concern:

 [ am the owner of rights to the mark which is described in the enclosed materials ("mark"). The
 mark has been registered with the United States Registration No. 20202024335 Department of
 State ID # l 903 73 9 8 l has been issued for the mark. A copy of the registration certificate is
 enclosed for your information.

 I have just learned of your use of this copyright/trademark, which is described in the enclosed
 materials. Specifica[ly, your use of the trademark is 1dentica! to the name. Your continued use is
 likely to cause confusion. Violation pursuant to Common Law Copyrights/Trademark use and 15
 USC 1114(1).

 From the information that I have received regarding your use, my use of this trademark has
 priority over yours based upon my earlier and continuous use, as well as the above federal
 registration. Therefore, your use is a violation of my rights.

f am demanding that you immediately stop using the mark described in the enclosed materials or
any other nam_e or mark confusingly similar. You must provide me with an acceptable response,
in order to avoid possible legal action against you.

"Party cannot be bound by contract that he has not made or authorized." Alexander v. Boswortb. ( 1915),
26 C.A. 589,599, 147 P.607. The Corporate person is in an unauthorized contract. The private living man
does not consent to contract and is the lawful lien holder of the corporate person.


Copyright/Trademark infringement SS00,000.00 Thousand United States actu,1I money, for eacb
in fringe men t.
Verification UCC 1 Financial Statement# ' S 20212013963/20202023'435, First lien holder aucl
Agriculturnl Lien holder on collateral in tile amount of one hundred mitlion dollars.
NOTICE TO PRINCIPAL IS NOTICE TO AGENT
NOTICE TO AGENT IS NOTICE TO PRINCPAL

Please contact me at the above address if you have any questions or need additional information.

Remectfull,: Sterlin2 h'-: Shaw. Secured Part\ 'Bailor
   '      • ~•-
Autographed by~,,.~L,}{1:j ,! ;!(:..MJ
                                      %-                                        ?   -
                                                         dated JJh .,--; ~ L-- t.,,Z,_,5
                                                                    I    • ~•           ':)

Done in good faith- \Vithout prejudice-All Rights Reserved
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             ACKNOWLEDGMENT

             STATE OF WASHINGTON

              COUNTY OF THURSTON) ss
- - ----- - - --- -- ------ - ---
             [ certify that I know or have satisfactory evidence that Sterling- Jay: Shaw [Secured Party/Bailor) is the person
             who appeared before me, and said person acknowledged that He signed this instrument and acknowledge it his
             free and voluntary act for the uses and purposes mentioned in the instrument.

             Dated: ~ - l L.)-'.2,o '2.3                                 Seal or Stamp

            N o ~ ~~--~-e_                        _
            N,m~                      ;)L,J. t-'\~1f                                       JD MONTOYA
                                                                                           Notary Public
           Title: Notary Public in and for the State of Washington                    State of Washington
                                                                                     Commission# 194472
                                                                                 My Comm. Expires Jun 17, 2026
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                 COMMON LAW COPYRIGHT NOTICE
                             copyright© 1980 STERLING JAY SHAW TRUST.

     Notice Provided Under Certified Mail No._ ,._

     Lawful/L~al Notice provided to:          This is formal legal/lawful notice that you are in breach of
                                              Copyright. This information is pertinent so please read it
     ~ a....:. """'--J....
                                              carefully and/or have your legal team review it as failure to
                                              understand or act is not a remedy or defense.

Coovright Notice: AH rjg-hts m;eryed.
Copyright of trade-name/trademark STERLING JAY SHAW© TRUST including any and all derivatives and
variations in the spelling, i.e. NOT limited to all capitalized names: STERLING JAY SHAW TRUST ©,
STERLING JA y SHA w©, STERLING SHAW©, STERLING                       SHA w©, SHAW©, SJS©, SHA w
STERLING©, SJS©, SJS SHAW© or any derivatives thereof are under Copyright 1980. Said common-law trade-
name/trademark, STERLING JAY SHAW © TRUST may neither be used nor reproduced, neither in whole nor in
part, in any manner whatsoever, without the prior, express, written consent and acknowledgment of
Trusteeffrust in writing.

With the Intent of being Contractually Bound, any Juristic Person, as well as the agent thereof, by notice of this
copyright is noticed that neither said Juristic Person nor agent thereof is authorized to display, nor otherwise use in
any manner, the common-law trade-name/trademark. nor the copyright described herein, nor any derivative of, nor
any variation in the spelling thereof, without the prior, written consent and acknowledgment of Trustee/TRUST, as
signified in writing with signed consent. Trustee/Trust neither grants, nor implies, nor otherwise gives consent for
any unauthorized use of STERLING JAY SHAW©, and all such unauthorized use is strictly prohibited.

By receipt of this notice you are hereby made aware of this copyright if otherwise ignorant of the fact that said
copyright is a matter of public record. This is notification that you are in BREACH. You herefn have two options
for remedy of this breach of copyright:

1) You consent to the removal of information and discontinuation of use of all information held in copyright that
   contains copyrighted materials from all databases publications, chronicles, manifestos, newspapers, and/or
   records of any type and issues a written apology; or
2) If the first option of this section is neither effected or arrangements to affect cure of breach as described is not
   engaged within 10 days of return receipt of this Notice then the clause by default will be enacted and you
   consent to the following Self-executing Contract/Security Agreement in Event of Unauthorized Use as well as
   Payment Terms as described herein below.
3) Self-executing Contract/Security Agreement in Event of Unauthorized Use: By this Notice, both the Juristic
   Person and the agent thereof, hereinafter jointly and severally "User", consent and agree that any use of trade-
   name/trademark copyright other than authorized use as set forth herein, constitutes unauthorized use and
   counterfeiting of property, contractually binds User and renders this Notice a Security Agreement wherein User is
   the DEBTOR and STERLING JAY SHAW TRUST© is the Secured Party, and signifies that User:
   a) In accordance with the fees for unauthorized use of Trade-Name/Trademark/Copyright, as set forth herein,
        consents to be invoiced for outstanding balance and agrees that User shall pay TRUST all unauthorized use
        fees in full within thirty (30) days of the date User is sent "Invoice", itemizing said fees.
   b) Grants Trustee/TRUST the right to invoice three times at thirty day intervals at which time User consents
        outstanding balance will be filed as a lien/levy via a UCC Financing Statement in the UCC filing office
        and/or in any county recorder's office, wherein User is the DEBTOR and STERUNG JAY SHAW
        TRUST© is the Secured Party and that Secured Party may file such lien/levy against property as a security
        interest in all of User's assets, land and personal property, and all of User's interest in assets, land and
        personal property, in the sum certain amount of $500,000.00 per each occurrence of use of the common-law
        copyrighted trade-name/trademark, plus costs, plus triple damages;
   c) Consent and agrees that said UCC Financing Statement described above in "b" is a continuing financing
        statement, and further consents and agrees with TRUSTS filing of any continuation starement necessary for




Common Law Copyright Notice                           Page 1                            Item# 781962-SJS-CLC
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             COMMON LAW COPYRIGHT NOTICE
                          copyright© 1980 STERLING .JAY SHAW TRUST.

         maintaining Secured Party's perfected security interest in all of User's property and interest in prnperty
         pledged as col lateral in this Security Agreement and described herein until User's contractual obligation
         theretofore incurred has been fully satisfied;
    d)   Waives all defenses: Consents and agrees that any and a!l such filings described herein going without
         remedy are not, and may not be considered, bogus-'frivolous and that User will not claim such a defense in
         regard.
    e)   Appoints Secured Par1y as Authorized Representative for User, effective upon User's default re User's
         contractual obligations in favor of Secured Obligation as set forth herein granting TRUST/Trustee full
         authorization and power for engaging in any and all actions on behalf of User including, but not limited to.
         authentication ofa record on behalf of User as Secured Party, at Secured Party's sole discretion, and as
         Secured Party deems appropriate, and User further consents and agrees that this appoimment of Secured
         Party as Authorized Representative for User, effecrive upon User's default, is irrevocable and coupled with
         a security interest.

Terms of Strict Foreclosure: User's non-payment in full of all unauthorized use fees itemized in Invoice within said
ninety (90) day period for curing default as set forth in authorizes without recourse Trustee/Secured Party's
immediate non-judicial strict foreclosure on any and all remaining former prope1ty and interest in property, formerly
pledged as collateral by User, now property of Secured Party, which is not in the possession of nor otherwise
disposed of by Secured Party upon expiration of said period.

Sterling-Jay: Shaw, Autograph Common Law Copyright 1980. Unauthorized use of "Sterling-Jay: Shaw" incurs
same unauthorized-use fees as those associated with STERLING JAY SHAW© TRUST, as set forth in the firsi
paragraph of the first page.


 Please feel free to contact us at any of the
 following if you would like to discuss
 terms of curing the breach of copyright.

                                                     Without Prejudice/Without Recourse
                                                     On behalf of STE RUNG JAY SHAW TR UST©.
                                                     Copyright 1980. All Rights Reserved .


                                                     .JURAT
  County of
                                      ) Scilicet
                                      )
                                           . r---             ......._,
SUBSCRIBED AND SWORN TO before me this _ _ _            L,~ _
                                                  day of _ __                     ~l:::::e~-b~___A.D.
20___2.Q_.




Notary Public Signature
My Commission Expires




Common Law Cop)Tight Notice                          Page 2                           Item# 781962-SJS-CLC
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 5/9/2020                                                              Acknowledgment




                Uniform Commercial      Code
                           FILE AND SEARCH ONLINE                                                          FILE AN INITIAL FINANCING S·

                                                                                                                      Sign out



                            Your transaction has been successfully completed with the Washington State
                            Department of Licensing. This is the only acknowledgment you will receive.
                            Please print this receipt for your record. Then, click on 'View Filing' and print
                            your acknowledgment.

                                              UCCl Receipt of Initial Financing Statement

                              File Number                2020-130-4756-4
                              File Date/Time             5/9/2020 4:01:00 PM
                              Lapse Date                 NONE
                              Initial Record Number      2020·130-4756·4
                              Filing Office              WA DOL
                              File Status                Accepted
                              Debtor                     STERLING JAY SHAW Woodinville, WA 98072
                              Secured Party              Sterling-Jay: Shaw-bailer Woodinville, WA 98072

                              Fee Amount ($US)          $39.00



                                                                                                UCC Start Pagg
                                                                          View Filing



               Home I Copyright © 2020 DOL




https://fortress.wa.gov/dol/ucc/acknowledgement.aspx?fn=bVnoh9cGp4saejZBKGEpnQgdbdHQilrd                                            1 /1
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              ·$    W-iiA4£S&               PU-¼?fMM



  UCC FINANCING STATEMENT
  FOLLOW INSTRUCTIONS
                                            -
   A. NAME & PHONE OF CONTACT AT FILER (optional)


  B. E-MAIL CONTACT AT FILER (optional}


  C. SEND ACKNOWLEDGMENT TO:                      (Name and Address)


      i c/o STERLING JAY SHAW TRUST                                                                    7
           P .0. BOX 213 WOODINVILLE. WA (98072)

      L                                                                                                _J
                                                                                                                          THE ABOVE SPACE IS FOR FILING OFFICE USE ONLY
 1. DEBTOR'S NAME: Provide only 9.!1!a Debtor name (1a or 1b) (use exact, full name; do not omit, modify, or abbreviate any part of the Debto(s name); if any part of the Individual Debtor's
      name will not fit in line 1b, leave all of item 1 blank, check here   (i2j and provide the Individual Debtor information in item 10 of the Financing Statement Addendum (Form UCC1Ad)
       1a. ORGANIZATION'S NAME
       STERLING JAY SHAW
 OR                                                                                                                                             ADDITIONAL NAME(S)/INITIAL(S)
       1b. INDIVIDUAL'S SURNAME                                                               FIRST PERSONAL NAME                                                                           SUFFIX


 1 c. MAILING ADDRESS                                                                         CITY                                              STATE     ' POSTAL CODE                     COUNTRY

  c/o P.O BOX 213                                                                             WOODINVILLE                                       WA 98072                                    USA
 2. DEBTOR'S NAME: Provide only= Debtor name (2a or 2b) (use exact, full name; do not omit, modify, or abbreviate any part of the Debto~s name}; if any part of the Individual Debtor's
     name will not fit in line 2b, leave all of item 2 blank, check here    O and provide the Individual Debtor information in item 10 of the Financing Statement Addendum (Form UCC1Ad)
       2a. ORGANIZATION'S NAME


 OR                                                                                           FIRST PERSONAL NAME
       2b. INDIVIDUAL'S SURNAME                                                                                                                 ADDITIONAL NAME(S)/INITIAL(S )              SUFFIX


 2c. MAILING ADDRESS                                                                          CITY                                              STATE     ' POSTAL CODE                     COUNTRY



 3 SECURED PARTY'S NAME (or NAME of ASSIGNEE of ASSIGNOR SECURED PARTY): Provide only 2!!!l Secured Party name (3a or 3b)
       3a. ORGANIZATION'S NAME


OR                                                                                            FIRST PERSONAL NAME
       3b. INDIVIDUAL'S SURNAME                                                                                                                 ADDITIONAL NAME(S)/INITIAL(S)               SUFFIX
       :Shaw                                                                                  Sterling-Jay
3c. MAILING ADDRESS
 C/O 17610 Woodinville/Snohomish RD #213
                                                                                              CITY
                                                                                              Woodinville                                       WA        I 98072DE
                                                                                                                                                                                            COUNTRY



4. COLLATERAL: This financIn~ statement covers the following collateral.
 COLLATERAL: This is the entry of collateral by Trustee/Secured Party on behalf of the Trust/Estate; STERLING JA y
 SHAW TRUST© in the Commercial Chamber under necessity to secure the rights, title(s), interest and value therefrom, in
 and of the Root of Title from inception, as well as all property held in trust including but not limited to DNA, cDNA, cell
 lines, retina scans, fingerprints and all Debentures, Indentures, Accounts, and all the Pledges represented by same included
 but not limited to the pignus, hypotheca, hereditments, res, the energy and all products derived therefrom nunc pro tune,
 contracts, agreements, and signatures and/or endorsements, facsimiles, printed, typed or photocopied of owner ' s name
 predicated on the ' Straw-man, ' Ens legis/Trust/Estate described as the debtor and all property is accepted for value and
 is Exempt from levy. Lien places on debtor entities is for all outstanding property still owed but not yet returned to trust
 from entities such as municipalities, governments and the like, not on trust entity itself. Trustee is not surety to any account
 by explicit reservation/indemnification. The following property is hereby registered and liened in the same: All Certificates
 of Birth Document 136-62-20189/780071, SSN/UCC Contract Trust Account-prepaid account Number: XXX-XX-XXXX;
 Exemption Identification Number: 541923209, is herein liened and claimed at a sum certain $100,000,000.00, also registered:
 Security Agreement No. 781962-SJS-SA.

5, Ch.eek Qfill. if applicable and check onlv one box: Collateral is        held in a Trust (see UCC1Ad, item 17 and Instructions)   Obeing administered by a Decedent's Personal Representative
6a. Check Q.ll.!i/. if applicable and check Q!!!l! one box:                                                                             6b. Check Q.!lJ:i if applicable and check Q!!!l! one box:
    0 Public-Finance Transaction                O Manufactured-Home Transaction              O A Debtor is a Transmitting Utility           0 Agricultural Lien O Non-UCC Filing
7. ALTERNATIVE DESIGNATION (if applicable):             D Lessee/Lessor               O    Consignee/Consignor          O Seller/Buyer        0 Bailee/Bailor    O Licensee/Licensor
8. OPTIONAL FILER REFERENCE DATA:
Colorado Secretary of State Master ID: 20202023435, See Attchments of collateral
                                                                                                                        International Association of Commerr.i:;il Arlmini<>tr<>+M~ "a,,..•,
                   Case 3:23-cv-05813-TMC Document 20 Filed 10/02/23 Page 20 of 36


  UC-C Financing Statement
                                                                               Colorado Secretary of State
                                                                               Date and Time: 03110/2021 11 :07:33 AM
                                                                               Master ID: 20212022640
                                                                               Validation Number: 20212022640
                                                                               Amount: $8.00

 !Debtor: (Individual )
  Last name: SHAW                      First name: STERLING Middle name: JAY                           Suffix:
  Address1: C/O 3965 Bethel Road #244
 Address2:
 City: Port Orchard                    State: WA              ZIP/Postal Code: 98366
 Province:                             Country: United States
 The debtor is a transmitting utility.

!secured Party: (Individual)
 Last name: Shaw                   First name: Sterling  Middle name: Jay                              Suffix:
 Address1: c/o 3965 Bethel Road #244
 Address2:
 City: Port Orchard               State: WA              ZIP/Postal Code: 98366
Province:                         Country: United States

ICollateral
Description:
                                                                                                                        J
see attached description



!o ptional Information
 Alternative designation:

In this financing statement, the terms "debtor" and "secured party" shall be read to mean: Bailee/Bailor

This financing statement is a: Agricultural Lien




                                                   Page 1 of 15
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STERLING JAY SHAW; NON-ADVERSE; NON BELLIGERENT; NON-COMBATANT PARTY IS
THE DEBTOR/BAILEE; Sterling-Jay: Shaw TRUST NON-ADVERSE; Non-Belligerent; Non-
Combatant Party is the Secured Party/Bailor. All property of the DEBTOR now belongs
to the Secured Party, Title 46 USC 31343 and Article 1 and 5 of the International
Convention on Maritime Liens and Mortgages 1993, Held at the Palis Des Nations,
Geneva, From April 19 to May 5, 1992 United Nations (UN). This Maritime Lien is under
safe harbor and sinking funds provisions through the prescription of Law of Necessity
and the doctrines of unconscionably and La Mort Saisit Le Vif in accordance with
Applicable Law, Cardinal Orders, Ordinal Orders, and Commercial Standards. In
Summation Inclusive Collateral Security list as follows: The Secured Party, Sterling-Jay:
Shaw, is a living man, flesh upon the soil of the land known as Washington, and not
within fictional boundaries, territories nor jurisdiction of any entity including fictional
Federal geometric plane(s). Trespass by any agent(s) foreign or domestic by such in any
scheme or artifice to defraud.


Full reverence and by ALL AGENTS and Corporations is unambiguously demanded and
required. Culpa est immiscere se rel ad se non perttienti. This is an Actual and
Constructive Notice that all the DEBTOR'S Interest and Property of all Sorts and every
kind now held or hereafter acquired is hereby accepted as Collateral and for Securing
Contractual Obligations in Favor of the Secured Party as detailed in a TRUE, CORRECT,
Notarized Security Agreement in Possession of the Secured Party per the Contract. The
above mentioned Secured Party hereby duly gives Notice of Claim to all rights, interest
and title. All Claims are property of Secured Party Creditor. The DEBTOR will
INDEMNIFY ALL CONTRACTS. The DEBTOR is a Transmitting Utility and is a Trust. All
Property is transferred assigned to the Secured Party Creditor. Continued on Attached
#781962-SJS-BT-CAD




Secured Party's Signature: lit:.:~> ~i-'( ; ;:'$~1t..;;_,.---
                                     'U
              Case 3:23-cv-05813-TMC Document 20 Filed 10/02/23 Page 22 of 36

 UCC Financing Statement
                                                                                Colorado Secretary of State
                                                                                Date and Time: 02/26/2020 04:13:53 PM
                                                                                Master ID: 20202019525
                                                                                Validation Number: 20202019525
                                                                                Amount: $8.00

Debtor: Or anization
Name: STERLING JAY SHAW TRUST
Address1: C/O PO Box 213
Address2:
City: Woodinville          State: WA              ZIP/Postal Code: 98072
Province:                  Country: United States
                                                              The debtor is a transmitting utility.

Secured Pa : Individual
Last name: Shaw:                 First name: Sterling-  Middle name: Jay                                Suffix:
Address1: C/O 17610 Woodinville Snohomish RD #213
Address2:
City: Woodinville                State: WA              ZIP/Postal Code: 98072
Province:                        Country: Foreign Other

ICollateral
Description:
COLLATERAL: This is the entry of collateral by Trustee/Secured Party on behalf of the Trust/Estate;
STERLING JAY SHAW TRUST in the Commercial Chamber under necessity to secure the rights, title(s),
interest and value therefrom, in and of the Root of Title from inception, as well as all property held in trust
including but not limited to DNA, cDNA, cell lines, retina scans, fingerprints and all Debentures, Indentures,
Accounts, and all the Pledges represented by same included but not limited to the pignus, hypotheca,
hereditments, res, the energy and all products derived therefrom nunc pro tune, contracts, agreements, and
signatures and/or endorsements, facsimiles, printed, typed or photocopied of owners name predicated on the
Straw-man, Ens legis/Trust/Estate described as the debtor and all property is accepted for value and is
Exempt from levy. Lien places on debtor entities is for all outstanding property still owed but not yet returned
to trust from entities such as municipalities, governments and the like, not on trust entity itself. Trustee is not
surety to any account by explicit reservation/indemnification. The following property is hereby registered and
liened in the same: All Certificates of Birth Document 136-62-20189/780071, SSN/UCC Contract Trust
Account-prepaid account Number: ••••■; Exemption Identification Number: •••■, is herein
liened and claimed at a sum certain $100,000,000.00, also registered: Security Agreement No. 781962-SJS-
SA, Hold Harmless & Indemnity Agreement No. 781962-SJS-HHIA, Copyright under item no.: 781962-SJS-
CLC Adjustment of this filing is in accord with both public policy and the national Uniform Commercial Code.
Trustee/Secured Party Sterling-Jay: Shaw, is living flesh and blood man sojourning upon the soil of the land
known as Washington, and not within fictional boundaries, territories nor jurisdiction of any fictional entity
including fictional Federal geometric plane(s). Trespass by any agent(s) foreign or domestic, by such in any
scheme or artifice to defraud. Full reverence and by ALL AGENTS and Corporations is unambiguously
demanded and required. Culpa est immiscere se rel ad se non pertienti. All property currently held are
outstanding belongs to the Trust administered by Trustee/Secured Party, Title 46 USC 31343 and Article 1
and 5 of the International Convention on Maritime Liens and Mortgages 1993, Held at the Palis Des Nations,
Geneva, From April 19 to May 5, 1992 United Nations (UN). This Maritime Lien is under safe harbor and
sinking funds provisions through the prescription of Law of Necessity and the doctrines of unconscionably and
La Mort Saisit Le Vif in accordance with Applicable Law, Cardinal Orders, Ordinal Orders, and Commercial
Standards.



IO tional Information
 Alternative designation:

In this financing statement, the terms "debtor" and "secured party'' shall be read to mean: Bailee/Bailor

This financing statement is filed in connection with a manufactured-home transaction.
          Case 3:23-cv-05813-TMC Document 20 Filed 10/02/23 Page 23 of 36




 COLLATERAL:
 This is the ~ntry of collatera.l by Trustee/Secured Party on behalf of the Trust/Estate; STERLING JAY SHAW
 TRUST© in the Commercial Chamber under necessity to secure the rights, title(s), interest and value
 therefrom, ln and of the Root ofTitle from inception, as well as .all property held in trust including but not
 limited to DNA, cDNA; cell Hnesi retiha scahs, fingerprints and all Debentures, Jndentures, AccoL/nts; and all the
 Pledges represented by same included but not limited to the pignus, hypotheca1 hereditments, res, the energy
 a~d all products -derived therefrom nunc pro tune, tohtracts, agreements, and signatures and/or
 endorsements, facsimiles, printecj, typed or pbotocopi_ed .o f owner's name predicated on the 'Straw-man/ Ens
 legis/Trust/Estate described as the debtor and all.property .is accepted forvalue and is Exempt from levy. Lien
 places on debtor entities is for ,all outstanding property still owed but not yet returned to trust from entities
 such a$ mun/dpc;11ities, gov~rnmeots a11.d the iike, no_t ori -trust entity itself.. Trustee is nt>tsurety to any account
 by explicit reservation/indemnificafion. The following property is here.by reg}stered and Hened in the same: All
 Certific-ates of Birth Document                           , SSN/UCC Co11fract Trust Acco_unt-prepaid account
 Number: W m:at Exemption Identification Number: • •                            i h • • ned and claimed at a sum
 certain $i.00~00-alsoreglstered.: Secu. ritV. ~greernent No                               . HoldHarm.l~ss -~ ln~e~nity
Agreement No. II             &Jacopynght under item no                                   ~JLJstme.nt of this f1hng Is In
 accord with both public polity and·the national Uniform CornmercipJ .Code, Trustee/Secured Party Sterling-Jay:
Shaw, is living, flesh and bfo.od man soj9urningupon the soil ofthe land known as Washington, and not within
fictional boundaries, territories nor jurlsdictioh of any fittionai entity including fit.tibhai Feder&I geometric
p!ane(s) , Trespass by 'any agent(sJ for:eign 'Or' domestic; by such Jn any schem.e or artifi.ce to defraud, Full
reverence and by ALL.AGENTS and Corporations is unambiguously demanded and required. Culpa est
imrniscere se rel ad se non pertientL All property cµrrently held a:re outstanding belongs to the Trust
administered byTrustee/Sec1Jred Party, Title46 USC 31343 arrd.Article 1 and 5 ofthe International Convention
on Maritime liens and Mortgages 19.93, Held atthe Palis Oe,s Nations, Geneva, From April 19 to May 5,1992
United Nations JUN). Tt)is Maritime Lien is'uhcler safe harbor arid sinking funds provisions through the
prescription of Lall\1 of Necessity and the doctrines of unconscionably and _La MortS.ai.sit Le Vif in accordance
w~th Applicable Law, Cardinal Orders, Ordinal Orders, and Commercial Standards.
                           Case 3:23-cv-05813-TMC Document 20 Filed 10/02/23 Page 24 of 36

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                                                              Minnesota Statutes, Chapter 333

 The filing of an assumed name does uot provide 2 user with exclusive rights to that
 n2_me. The filing is reguiTed for consumer protection in order to enable customers to
 be able to identify the true ovmer of a business.




ASSUMED Nft.JvfE :




NAUfEHOLDER{S):
                                                     Name:                                 Address:
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o.cument under oath.

JGNED BY: Signed By; St.e:rHng .Jay: Shaw


fAILING ADDRESS:                                    P.O. Box 23.3 WOOD1I'·P/ILL£ Washl:ngtoD 98-072



VI.AIL FOR OFFICIAL NOTICES:
    Case 3:23-cv-05813-TMC Document 20 Filed 10/02/23 Page 25 of 36




  l. Steve Simon, Secretary of State of Minnesota, do certify that: The proposed name
holder listed belovv has or: the date listed below filed an application for the regisi:ration of
the mark described belo,v. Registration of this mark is granted to the proposed name
holder unde1 the terrns and subject to the ii..mitations oO,Iinnesota Statutes, Chapter 333.
The proposed name holder clairns the date listed belov,· as the date of first use of th.~ mark
in this state, and the c1ttached drn'vving., print repn~sentation is a trne and correct specimen
of the mark.


[,[o1me of Holder/Propc,sed:            Sterling jay: Shaw

Description. of Mark:                   STERL.li\JG JAY SHAW

Date of first Use in this State:        O7/08i1980

C lassi ficati on c{ Mark:              35

Mark Number:                            !388966600029

The ce;-rificate has been issued on:    5/8i2023




                                          Secretary of State
                                          State of 1,{tnnesota
                                                     1
Case 3:23-cv-05813-TMC Document 20 Filed 10/02/23 Page 26 of 36
                                           Case 3:23-cv-05813-TMC Document 20 Filed 10/02/23 Page 27 of 36




                                                                                                c/o 3965 Beti1el f~oacl SE:
                                                                                                   Suite 1, PMB # 244
                                                                                                Port Orcharcl, Washington
                                                                                                   Posta! Cocle 98366

                                                                                                  psn@prairiestar.net
                                               1\/ t , T i O 1\! ,l\ L


                                                             CERTIFICATE OF AUTHENTICATION

                                                          To: All State & Federal Corporate Agencies

                                                                  AFFIDAVIT OF STATUS
                                                                SECURED PARTY CREDITOR

                  DEBTOR: STERLING J. SHAW@ juristic Person - "Legal Entity" for exclusive
                 use in Commerce, whereas a contractual agreement; by and between DEBTOR
                 and Secured Party Creditor, under a "Security Agreement Contract for Services"
                       dated March 2, 2020 retroactive to July 8, 1980, "Transmitting Utility
                                       Account No: 541923209/c74036456
                 Guarantee Bond No: 541923209 & 136622018/70071 issued March 14, 2019" in
                          the amount of ONE HUNDRED MILLION ($100,000,000.00) in
                                     "lawful Money - Gold or silver bullion).

                            SECURED PARTY CREDITOR: Sterling Jay: Shaw - The Living Man;
                            Donor & Beneficiary: Sterling Jay: Shaw - the flesh & blood, living man.
                                         of the: ESTATE OF STERLING JAY SHAW
                                     whereas the Trustee is: Prairie Star National Trust.

                                                                                 VERIFICATION

                                      UCC Financing Statement March 2, 2020 with Security Agreement
                                                       Form PSN-781962SJSHAW
                                              Security Agreement - Contract for Services
                                                  Between: DEBTOR & Secured Party


                By:                                       J
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                                       ,v,,c;i] r-ru11.~1; JJ.ltur, c->i, / 1.t1,,~1.~,,
                                     Without Prejudice -All Rights Reserved



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                Case 3:23-cv-05813-TMC Document 20 Filed 10/02/23 Page 28 of 36




                                       Private Security Agreement
                                     Non Negotiable-Non~Transferable

 This Security Agreement is made and entered into on March 1, 2021 by and between PRAIRIE STAR
 NATIONAL TRUST herein after known as SECURED PARTY and the Corporate Entity STERLING JAY SHAW
 ens legis, DEBTOR, herein after "DEBTOR", SOCIAL INSURANCE ACCOUNT NUMBER as assigned by the
 ss Administration. If any part or portion of this Security Agreement is found to be invalid or unenforceable, such
 part or portion shall not void any other part or portion as reasonably segregable from said part(s) or portion(s).
 The Parties, herein after "Parties," are identified as follows:

         SECURED PARTY
             Prairie Star National, a pure Contract Trust
             3965 Bethel Road# 1-244
             Port Orchard, Washington 98366

         DEBTOR -A TRANSMITTING UTILITY
              STERLING JAY SHAW ens legis [meaning fegally created] and all derivatives thereof
              SOCIAL INSURANCE ACCOUNT NUMBER: Public; As assigned by SS Administration

 NOW. THEREFORE, it is hereby agreed as follows"

                                                  AGREEMENT
 In consideration for the Secured Party provide certain accommodation to and for the DEBTOR, the DEBTOR
 PROPERTY shall be held
      1. Constituting the source, origin, substance, and being, IE. basis of "per-existing claim," from which the
      existence of DEBTOR was derived and on the basis of which DEBTOR is able to function as a transmitting
      utility to conduct Commercial Activity as a conduit for the transmission of goods and services to the entity
      Sterling Jay Shaw the living wo/man, and to interact, contract, and exchange goods, seNices, obligations,
      and liabilities with other DEBTORS, corporations, and artificial persons in Commerce;
      2. The DEBTOR'S ESTATE is considered "LOST, MISLAID AND ABANDONED PROPERTY. [Lost, mislaid,
     and abandoned property are categories of the common law of property which deals with personal property
     or chattel which has left the possession of its rightful owner without having directly entered the possession
     of another person. Property can be considered lost, mislaid or abandoned depending on the circumstances
     under which it is found by the next party who obtains its possession. A finder of property acquires no rights
     in mislaid property,· is entitied to possession of lost property against everyone except the true owner; and is
     entitled to keep abandoned properly]
     The true owner of the DEBTOR Property maybe claimed by providing "lawful claim" including completion of
     the proper Political Status as an American National and Recording such documents in the county where
     claimant is domiclled.
     3. Issuing a binding commitment to extend credit or for the extension of immediately available credit,
     whether or not drawn upon and whether or not a charge back is provided for in the event of difficulties in
     collection;
     4. Providing the security for payment of all sums due or owing, or to become due or owing, by DEBTOR;
     and
    5. In an effort to preserve the source of the assets, via the sentient existence, exercise of faculties, and
    labor of the living wo/man STERLING JAY SHAW, that provide the valuable consideration sufficient to
    support any contract which DEBTOR may execute or to which DEBTOR may be regarded as bound by any
    person whatsoever, DEBTOR, by the acknowledgment upon claiming the same, hereby confirms that this
    Security Agreement is a duly executed, signed, and sealed private contract entered into at the time and
    date created, and confirms that the preservation document was created to preserve the assets and value,
    knowingfy, intentionally, and voluntarily by DEBTOR and Secured Party, wherein and whereby DEBTOR:
FORl\1 PSN-781962SJSHAW                               Page I                   Secured Party: Prairie Star National




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                                               INDEMNITY CLAUSE
   DEBTOR, without the benefit of discussion or division, does hereby agree, covenant, and undertake to
   indemnify, defend, and hold the Secured Party harmless for and against any and all claims, losses, liabilities,
  costs, interests, and expenses, herein after referred to as "Claims" or "Claim," which Claims include without
  restriction, all legal costs, interests, penalties, and fines suffered or incurred by the Secured Party, in accordance
  with the Secured Party's personal guarantee with respect to any loan or indebtedness of DEBTOR, including any
  amount DEBTOR might be deemed to owe to any creditor for any reason whatsoever.
  The Secured party" shall promptly advise DEBTOR of any Claim and provide DEBTOR with full details of said
  Claim, inter alia, copy of any document, correspondence, suit, or action received by or served upon the Secured
  Party. The Secured party shall fully coopelrate with DEBTOR in any discussion, negotiation, or other proceeding
  relating to any claim.

                                           OBLIGATIONS SECURED

   The security interest granted herein secured any and afl indebtedness and liability whatsoever of DEBTOR to
  the Secured
  Party, whether direct or indirect, absolute or contingent, due or become due, now existing or hereinafter arising,
  and however evidenced.

  COLLATERAL:

 The collateral to which this Security Agreement pertains to, Inter afia, all herein below described personal and
 real property of DEBTOR, now owned or hereafter, acquired by DEBTOR, in which the Secured Party holds all
 interest. DEBTOR retains possession and use, and rights of possessions and use, and all proceeds, products,
 accounts, and fixtures, and the Orders there from, are released to DEBTOR.

      1. All proceeds, products, accounts, and fixtures from crops, mine head, wellhead, with transmitting
         utilities, etc.;
     2. All rents, wages, and Income;
     3. All rand, mineral, water, and air rights;
     4. All cottages, cabins, houses, and buildings;
     5. All bank accounts, bank "safety" deposit boxes and the contents therein, credit card accounts, mutual
         fund accounts, certificates of deposit accounts, checking accounts, savings accounts, retirement plan
         accounts, stocks, bonds, securities, and benefits from trusts;
     6. Alf inventory in any source;
     7. All machinery, either farm or industrial;
     8. All aircraft, gliders, balloons, and all equipment, accouterments, baggage, and cargo affixed or
     pertaining thereto or stowed therein, inter afia: all motors, engines, ancillary equipment, accessories,
     parts, tools, instruments, electronic equipment, navigation aids, service equipment, lubricants , and fuels
    and fuel additives;
    9. All aircraft, yachts, and water crafts, and all equipment, accouterments, baggage, and cargo affixed or
    pertaining thereto stowed therein, inter alia: an motors, engines, ancillary equipment, accessories, parts,
    tools, instruments, electronic equipment, navigation aids, service equipment, lubricants, and fuels and
    fuel additives;
    10. All motor homes, trailers, mobile homes, recreational vehicles, house, cargo, and travel trailers, and all
      equipment, accouterments, baggage, and cargo affixed or pertaining thereto or stowed therein, inter alia:
   all anc1/lary equipment, accessories, parts, service equipment, lubricants, and fuels and fuel additives;
    11. All livestock and animals, and all things required for the care, feeding use and husbandry thereof;
   12. All vehicles, autos, trucks, four-wheel vehicles, trailers, wagons, motorcycles, bicycles, tricycles,
   wheeled conveyances;
   13. All computers, computer-related equipment and accessories, electronically stored files or data,
   telephones, electronic equipment, office equipment and machines;
FORM PSN-781962SJSHAW                            Page 3                     Secured Party: Prairie Star National




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          35.AII Rights to create documents of travel of every kind whatsoever, inter alia, those signifying diplomatic
          status and immunity as a free, independent, and Sovereign State-in-fact;
          36.AII claims of ownership or certificates of title to the corporeal and incorporeal hereditaments, hereditary
          succession, and all innate aspects of being, i.e. mind, body, soul, free will, faculties, and self;
          37. All Rights to privacy and security in person and property, inter alia, all Rights to safety and security of
              all household or sanctuary dwellers or guests, and -all papers and effects belonging to DEBTOR or
              any household or sanctuary dwellers or guests, against governmental, quasi-governmental, or private
             intrusion, detainer, entry, seizure, search, surveillance, trespass, assault, summons, or warrant, except
  with       proof of superior claim duly filed in
              the Commercial Registry by any such intruding party in the private capacity of such intruding party,
             notwithstanding whatever purported authority, warrant, order, law, or color of law may by promulgated as
             the authority for any such intrusion, detainer, entry seizure, search, surveillance, trespass, assault,
             summons, or warrant;
         38. All names used and all Corporations Sole execution and filed, or to be executed and filed, under said
         names;
         39.AII intellectual property, inter alia, all speaking and writing;
         40. All signature and seals;
         41. All present and future retirement incomes, and right to such incomes, issuing from any of DEBTOR
         accounts;
         42. All present and future medical and healthcare rights, and rights owned through survivor-ship, from any
         of DEBTOR accounts;
         43. All applications, filings, correspondence, information, identifying marks, image licenses or travel
         documents, materials, permits, registrations, and records, and records numbers held by any entfty, for
         any purpose, however acquired, as well as the analysis and uses thereof, and any use of any
        information and images contained therein, regardless of creator, method, location, process, or storage
        form, inter alia, all processed algorithms analyzing, classifying, comparing, compressing, displaying,
        identifying, processing, storing, or transmitting said applications, filings, correspondence, information,
        identifying marks, image licenses or travel documents, materials, permits, registrations, and records and
        records numbers, and the like;
       44. All library cards;
       45. All credit card, charge, and debit cards, and mortgages, notes, applications, card numbers, and
       associated record and information;
       46. All traffic citations/tickets;
       4 7. All credit of DEBTOR;
       48. All parking citations/tickets;
       49. All court cases and judgments, past, present, and future, in any court whatsoever, and all bonds, orders,
       warrants, and other matters attached thereto or derived there from;
       50. All precious metals, bullion, coins, jewelry, precious jewels, semi-precious stones, mounts, and any
       storage boxes within which said items are stored;
       51.AII tax correspondence, filings, notices, coding, record numbers, and any information contained therein,
      wherever and however located, and no matter by whom said information was obtained, compiled, codified,
      recorded, stored, analyzed, processed, communicated, or utilized;
      52. All banks accounts, bonds, certificated of deposit, drafts, futures, insurance policies, investment
      securities, Individual Retirement Accounts, money market accounts, mutual funds, notes, options, puts,
      calls, pension plans, savings accounts, stocks, warrants, and the like;
      53. All accounts, deposits, escrow accounts, lotteries, over-payments, prepayments, prizes, rebates,
      refunds, returns, Treasury Direct Accounts, claimed and unclaimed funds, and all records and record
      numbers, correspondence, and information pertaining thereto or derived there from;
     54. All cash, coins, money, Bank of Canada Notes, and Silver Certificates;
     55. All drugs, herbs, medicine, medical supplies, cultivated plants, growing plants, inventory, ancillary
     equipment, supplies, propagating plants, and seeds, and all related storage facllities and supplies;
     56. All products of and for agriculture, and all equipment, inventories, supplies, contracts, accouterments
     involved in the planting, tilling, harvesting, processing, preservation, and storage of all products of
     agriculture;

FORM PSN-781962SJSHAW                              Page 5                       Secured Party: Prairie Star National




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                                                          ADVISORY
 All instruments and documents referenced/itemized above are accepted for value, with all related endorsements ,
 front and back, in accordance with UCC & 3-419 and House Joint Resolution 192 of June 5, 1933. This Security
 Agreement is accepted for value, property of the Secured Party, and not dis-chargeable in bankruptcy court as the
 Secured Party's property is exempt from third-party levy. This Security Agreement supersedes all previous
 contracts or security agreements between DEBTOR and the Secured Party.

 DEBTOR agrees to notify all of DEBTORS former creditors, would-be creditors, and any would-be purchasers of
 any herein described Collateral, of this Security Agreement, and all such personages are expressly so noticed
 herewith;

 This Security Agreement devolves on the Secured Party's heirs and assigns, who are squally as authorized, upon
 taking title to this Security Agreement, as the Secured Party hold and enforce said Security Agreement via non-
 negotiable contract, devise, or any lawful commercial remedy.


      NOTICE TO THE PRINCIPAL IS NOTICE TO THE AGENT - NOTICE TO THE AGENT IS NOTICE TO THE PRINCIPAL


                                     Applicable to all Successors and Assigns


                                                          SIGNATURES

The Secured Party executes this Security Agreement certified and sworn on the Secured Party's unlimited
liability true, correct, and complete, and accepts all signature in accord with UCC 3-419.




PRAIRIE STAR NATIONAL



By:       -:Jterli112,,i ~haw                           Trustee
      Sterling J. Shaw, Without Prejudice
            All Rights Reserved




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                                    S'"'Case 3:23-cv-05813-TMC Document 20 Filed 10/02/23 Page 32 of 36
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 ())       ~.,_                    This Certificate is not valid for use any\'.ihere with .in the ' United States ot' America, its territories or possessions.
,v"' \·t-\ , ..:-----------------A
                                 - p-o-st_i_ll_e_________~-------
                                                                  (Convention de La Haye du 5 octobre l 961)
                   1.          Country
                                                      United States of America
                               Pays/ Pafs

                                                                               This public document
                                                              Le present acte public/ El presente documento publico
                  2.          has been signed by
                              a ete signe par                                    JD MONTOYA
                              ha sido firrrtado por
                  3.          acting iii the ciipacity of
                              agissant en qualite de                            Notary Pub I(c; state of Washington
                              quien actua en calidad de
              4.              bea·rs seal/ stamp of
                          est revetu du sceau / timbre de                       JD MONTOYA
                          yes.ta re;vistido de! sello / timbre _de
                                                                                       Certified
                                                                                   Atteste i Certificado
              5.          at                                                                               the
                                             Olympia, Washington                                                           June 14, 2023
                          a. I en                                                                          le/eldfa

              7.              by                            Steve R. Hbbbs, Secretary of State, State of Washington
                          par_/ por
              8.          Number
                          sous nombre / bajo el             F22310969
                          numero

              9.              Seal/ stamp
                                                                                                  10. Signature:
                              Sceau / timbre                                                             Signature:
                              Sella I timbre                                                             Fi1ma:


                        This Apostille only certifies the authet1ticity oftl1e signature and the capacity of the person who has signed the public document, and,
                                                 where appropriate, the identity of the seal or stamp which tl1e public document bears.
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   Sterling Jay: Shaw
   P.O. Box 21.3
   Woodinville, WA 98072

   Pursuant to, Common Laws of Copyrights/Trademarks and 15 USC l l 14(!).
   Was established on July 8, 1980.

  Re: Copyright/Trademark Violation

  To Whom [t May Concern:

 I am the owner of rights to the mark which is described in the enclosed materials ("mark"). The
 mark has been registered with the United States Registration No. 20202024335 Department of
 State ID # 1903 73981 has been issued for the mark. A copy of the registration certificate is
 enclosed for your information.

 [ have just learned of your use of this copyrighUtrademark, which is described in the enclosed
 materials. Specifically, your use of the trademark is Identical to the name. Your continued use is
 likely to cause confusion. Violation pursuant to Common Law Copyrights/Trademark use and 15
 USC 1114(1).

 From the information that I have received regarding your use, my use of this trademark has
 priority over yours based upon my earlier and continuous use, as well as the above federal
 registration. Therefore, your use is a violation of my rights.

 [ am demanding that you immediately stop using the mark described in the enclosed materials or
 any other narn_e or mark confusingly similar. You must provide me with an acceptable response,
 in order to avoid possible legal action against you.

"Party cannot be bound by contract that he has not made or authorized." Alexander v. Bosworth (1915),
26 C.A. 589, 599, 14 7 P.607. The Corporate person is in an unauthorized contract. The private living man
does not consent to contract and is the lawful lien holder of the corporate person.


Copyright/Trademark infringement 5500,000.00 Thousand United States actual money, for each
infringement.
Verification UCC 1 Financial Statement#' S 20212013963/20202023435, First lien holder aocl
Agricultural Lien holder on collateral in the amount of one hundred million dollars.
NOTICE TO PRINCIPAL IS NOTICE TO AGENT
NOTICE TO AGENT IS NOTICE TO PRINCPAL

Please contact me at the above address if you have any questions or need additional information.

Respectfully: Sterling Jay: Shaw, Seemed Partv 1Bailor
Autographed b y : ~ ~ /               ::§'#..A0          dated   _f.'/; _.-/~~ 2 02.f.
Done in good faith- Without prejudice-All Rights Reserved
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 ACKNOWLEDGMENT

 STATE OF WASHINGTON

COUNTY OF THURSTON) ss

[ certify that I know or have satisfactory evidence that Sterling- Jay: Shaw [Secured Party/Bailor] is the person
who appeared before me, and said person acknowledged that He signed this instrument and acknowledge it his
free and vo [untary act for the uses and purposes mentioned in the instrument.

 Dated: ~ - /L.!~~ -:i.3                                    Seal or Stamp

Notdf........_•~=----c,_             _

Nm      ;:J o~           :U.,.J. 1'-'1~1j                                   JD MONTOYA
                                                                            Notary Public
Title : Notary Public in and for the State of Washington                 State of Washington
                                                                        Commission# 194472
                                                                    My Comm. Expires Jun 17, 2026
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     Notice Provided Under Certified Mail No._ ,._

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                                              carefully and/or have your legal team review it as failure to
                                              understand or act is not a remedy or defense.

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By receipt of this notice you are hereby made aware of this copyright if otherwise ignorant of the fact that said
copyright is a matter of public record. This is notification that you are in BREACH. You herein have two options
for remedy of this breach of copyright:

1)  You consent to the removal of information and discontinuation of use of all information held in copyright that
    contains copyrighted materials from all databases publications, chronicles, manifestos, newspapers, and/or
    records of any type and issues a written apology; or
2) If the first option of this section is neither effected or arrangements to affect cure of breach as described is not
    engaged within 10 days of return receipt of this Notice then the clause by default will be enacted and you
   consent to the following Self-executing Contract/Security Agreement in Event of Unauthorized Use as well as
    Payment Terms as described herein below.
3) Self-executing Contract/Security Agreement in Event of Unauthorized Use: By this Notice, both the Juristic
   Person and the agent thereof, hereinafter jointly and severally "User", consent and agree that any use of trade-
   name/trademark copyright other than authorized use as set forth herein, constitutes unauthorized use and
   counterfeiting of property, contractually binds User and renders this Notice a Security Agreement wherein User is
   the DEB TOR and STERLING JAY SHAW TRUST© is the Secured Party, and signifies that User:
   a) In accordance with the fees for unauthorized use of Trade-Name/Trademark/Copyright, as set forth herein,
        consents to be invoiced for outstanding balance and agrees that User shall pay TRUST all unauthorized use
        fees in full within thirty (30) days of the date User is sent "Invoice", itemizing said fees.
   b) Grants Trustee/TRUST the right to invoice three times at thirty day intervals at which time User consents
        outstanding balance will be filed as a lien/levy via a UCC Financing Statement in the UCC firing office
        and/or in any county recorder's office, wherein User is the DEBTOR and STERLING JAY SHAW
        TRUST© is the Secured Party and that Secured Party may file such lien/levy against property as a security
        interest in all of User's assets, land and personal property, and all of User's interest in assets, !and and
        personal property, in the sum certain amount of $500,000.00 per each occurrence of use of the common-law
        copyrighted trade-name/trademark, plus costs, plus triple damages;
   c) Consent and agrees that said UCC Financing Statement described above in "b" is a continuing financing
        statement, and further consents and agrees with TRUSTS filing of any continuation statement necessary for




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          maintaining Secured Party's perfected security interest in all of User's property and interest in property
          pledged as collateral in this Security Agreement and described herein until User's contractual obligation
          theretofore incurred has been fully satisfied;
     di   Waives all defenses; Consents and agrees that any and all such filings described herein going without
          remedy are not, and may not be considered, bogus,'frivolous and that User will not claim such a defense in
          regard.
     e)   Appoints Secured Party as Authorized Representative for User, effective upon User's default re User's
          contractual obligations in favor of Secured Obligation as set forth herein granting TRUST/Trustee full
          authorization and power for engaging in any and all actions on behalf of User including, but not limited to.
          authentication ofa record on behalf of User as Secured Party, at Secured Party's sole discretion, and as
          Secured Party deems appropriate, and User further consents and agrees that this appointment of Secured
          Party as Authorized Representative for User. effective upon User's default, is irrevocable and coupled with
          a security interest.

Terms of Strict Foreclosure: User's non-payment in full of all unauthorized use fees itemized in Invoice within said
ninety (90) day period for curing default as set forth in authorizes without recourse Trustee/Secured Party's
immediate non-judicial strict foreclosure on any and all remaining former property and interest in property, formerly
pledged as collateral by User, now property of Secured Party, which is not in the possession of, nor otherwise
disposed of by Secured Party upon expiration of said period.

Sterling-Jay: Shaw, Autograph Common Law Copyright 1980. Unauthorized use of "Sterling-Jay: Shaw" incurs
same unauthorized-use fees as those associated with STERLING JAY SHAW© TRUST. as set forth in the first
paragraph of the first page.


 Please feel free to contact us at any of the
 follo.,ving if you would like to discuss
 terms of curing the breach of copyright.
                                                                Sterling-~: Sha ~TTEE
 Phone : 2t>&- J '-/ 1-lj 9 95-_- _                             Without Prejudice/Without Recourse
 E-Mail. : >,,,.1. .,1d ....il-,&v-Se-
                              '        J' 0 e ,:;,..,..,., ·;   On behalf of STERLING .IA Y SHAW TRUST© .
                                                                Copyright 1980. All Rights Reserved.
 Or the address provided on the envelope .

                                                                .JURAT
  County of
                                              ) Scilicet
                                              )
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SUBSCRIBED AND SWORN TO before me this                            L,           day of _ ____.l::::::f___,__b=ca_,_ __ A.D.
20--2,Q_.

                                                                                                              PATR!CL~, CASTREN
                                                                                                           ! :JiA.EY PUBUC fer L'1e
Notary Public Signature
                                                                                                          i~Js;~, .1g at 8u~e. Mon~na
My Commission Expires                                                                                       t.~y Coinmiss:on t.>tpirns
                                                                                                                  A.pr'J H, 2021




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